         Case 4:11-cr-00210-JM Document 297 Filed 05/27/14 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                 PLAINTIFF

v.                                  NO. 4:11CR00210-01

DEMETRIUS COLBERT, aka D COOP                                            DEFENDANT


                                           ORDER

       Among the issues addressed at the pretrial hearing held today were these pending

motions: Defendant’s Motion for Severance [Docket No. 283], Defendant’s Motion to Suppress

All Evidence Obtained from 401 Hillcrest Street, Marianna, Arkansas [Docket No. 284],

Defendant’s Motion to Suppress All Evidence from Title III Wiretaps [Docket No. 285], and the

Government’s Motion in Limine to Exclude Testimony Regarding Law Enforcement Entry at

138 South Carolina on October 11, 2011 [Docket No. 291]. For the reasons stated in open court,

Defendant’s motion for severance and motions to suppress are DENIED, and the Government’s

motion in limine is GRANTED.

       IT IS SO ORDERED this 27th day of May, 2014.



                                           _________________________________________
                                           James M. Moody, Jr.
                                           United States District Judge
